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                            UNITED STATES DISTRICT COURjT                           AUl-J 2 9 2018
                             NORTHERN DISTRICT OF TEXA$
                                                        '
                                FORT WORTH DIVISION

UNITED STATES OF AMERICA                        §
                                                §
v.                                              §           NO. 4:11-CR-151-A(01)
                                                §
CRYSTAL MASON-HOBBS                             §


                          EMERGENCY MOTION TO CONTINUE

       CRYSTAL MASON-HOBBS, through undersigned counsel, respectfully requests that this

Honorable Court stay the hearing on revocation of supervised release currently scheduled for

August 30, 2018, due to Lead Counsel having been hospitalized today, August 29,2018.

       Secondary Counsel just joined the case less than a week ago. Counsel's role was secondary

and to assist Lead Counsel. Given that this case involves a fundamental liberty interest,

undersigned Counsel respectfully requests at least ten (10) days to prepare to proceed in the

absence ofLead Counsel.

       WHEREFORE, for all the foregoing reasons, and for any other reasons this Court may

deem just and proper, Crystal Mason-Hobbs, through undersigned counsel, respectfully requests

that this Court continues the hearing scheduled on August 30, 2018 for at least 10 days.

                             CERTIFICATE OF CONFERENCE

       I certify that on the 29th of August, 2018, I conferred with Assistant U.S. Attorney Megan

Fahey. Attempts to reach the government were unsuccessful. I was unable to ascertain whether

the government does or does not oppose this motion.

                                CERTIFICATE OF SERVICE

       I certify that on the 29th day of August, 2018, a copy of the foregoing was provided to all

parties in accordance with the Federal Rules of Civil Procedure.
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                                            Respectfully submitted,


                                            ~/~
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                          UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF TEXAS
                              FORT WORTH DIVISION


UNITED STATES OF AMERICA                     §
                                             §
v.                                           §           NO. 4:11-CR-151-A(01)
                                             §
CRYSTAL MASON-HOBBS                          §

                                          ORDER

       Upon consideration of Crystal Mason-Hobbs' Emergency Motion to Continue the hearing

on Revocation of Supervised Release, and the Court having reviewed the facts and legal issues

surrounding said motion, this Court hereby GRANTS/DENIES said motion. It is further

ORDERED that the revocation hearing in this matter is continued until _ _ _ _ day of

_ _ _ _ _ _ _ _, 2018 at 2:00PM.




SIGNED this _ _ _ _ day of _ _ _ _ _ _ _ _, 2018.




                                                 THE HONORABLE JOHN MCBRYDE
                                                 U.S. DISTRICT JUDGE
